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                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

NEONODE SMARTPHONE LLC,                       §
                                              §
       Plaintiff,                             §
v.                                            §
                                                        Civil No. 6:20-cv-00507-ADA
                                              §
SAMSUNG ELECTRONICS CO. LTD, and              §
SAMSUNG ELECTRONICS AMERICA,                  §         JURY TRIAL DEMANDED
INC.,                                         §
      Defendant.                              §


                    ORDER GRANTING MOTION TO STAY CASE

       Having considered Defendants Samsung Electronics Co. Ltd. and Samsung Electronics

America, Inc.’s (“Samsung”) Motion to Stay Case Pending Appeal of Inter Partes Review, and

good cause appearing, the Court hereby ORDERS this case stayed in its entirety pending

resolution of any appeals of the final written decisions in IPR2021-01041, IPR2021-00144, and

IPR2021-00145.

       IT IS SO ORDERED.

       SIGNED this _________ day of _______, 2023.




                                          HONORABLE ALAN D ALBRIGHT
                                          UNITED STATES DISTRICT JUDGE




WEST/301622569
